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The Honorable Lauren King

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

Eve Nevada, LLC and Voltage Holdings, LLC | No. 2:21-cv-251-LK

Plaintiffs, NOTICE OF APPEARANCE
Vs.

Michelle Derbyshire (formerly Doe aka
fbkf@sroff.com,

 

Defendants.

Please take notice that Spencer D. Freeman of Freeman Law Firm, Inc. hereby appears
as attorney of record for Plaintiffs Eve Nevada, LLC and Voltage Holdings, LLC in the above-
captioned action. Please serve all further pleadings and papers, exclusive of original process, on
Spencer D. Freeman at the address below.

DATED this 14" day of January, 2022.

FREEMAN LAW FIRM, INC.

By: s/ Spencer D. Freeman
Spencer D. Freeman, WSBA No. 25069

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